                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


  ALIGN TECHNOLOGY, INC.,

  Plaintiff,
                                                    Civil Action No. 6:24-cv-00187-ADA-DTG
  v.
                                                    JURY TRIAL DEMANDED
  CLEARCORRECT OPERATING, LLC,
  CLEARCORRECT HOLDINGS, INC.,
  & INSTITUT STRAUMANN AG,

  Defendants.

  CLEARCORRECT OPERATING, LLC,
  CLEARCORRECT HOLDINGS, INC.,
  & STRAUMANN USA, LLC,

  Counterclaim-Plaintiffs,

  v.

  ALIGN TECHNOLOGY, INC.,

  Counterclaim-Defendant.



          ORDER GRANTING DEFENDANT INSTITUT STRAUMANN AG’S
                         UNOPPOSED MOTION

       Before the Court is Defendant Institut Straumann AG’s Unopposed Motion for

leave to join Defendants ClearCorrect Operating, LLC, and ClearCorrect Holdings, Inc.’s

(collectively “ClearCorrect”) pending motion to dismiss for failure to state a claim under

Fed. R. Civ. P. 12(b)(6) (Dkt. 31), and for leave to withdraw its pending Motion to Dismiss

Based on Lack of Personal Jurisdiction (Dkt. 30).

       IT IS HEREBY ORDERED this ___ day of ____________, 2024, that Defendant

Insititut Straumann AG’s Unopposed Motion is GRANTED.




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    The Honorable Alan D Albright
    United States District Judge




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